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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
In re:

RON VIGDOR                                                            CASE NO. 20-12751-MAM
                                                                      CHAPTER 13
                  Debtor.
____________________________________/

                        EX PARTE MOTION FOR ORDER
               CONFIRMING THE AUTOMATIC STAY IS NOT IN EFFECT

         Toyota Motor Credit Corporation as servicer for Toyota Lease Trust (“Movant”), pursuant

to 11 U.S.C. §362(j) and Local Rule 4001-1(C)(2)(b), seeks an order confirming the automatic

stay is not in effect as to Movant and states:

         1.     On December 15, 2017, the Debtor entered into a Motor Vehicle Lease Agreement

(“Contract”) for the following vehicle: 2017 Lexus IS200; VIN: JTHBA1D24H5048525 (the

“Vehicle”). A true and correct copy of the Contract is attached hereto as Composite Exhibit “A.”

         2.     As indicated on the title, Movant is the leaseholder on the Vehicle. A copy of the

Title is attached hereto as Composite Exhibit “A.”

         3.     In the Third Amended Chapter 13 Plan (Doc. No. 43), the Debtor treated Movant

directly outside of the Plan, assumed the underlying lease and noted that the automatic stay would

be terminated upon confirmation of the Plan.

         4.     The lease matured on December 15, 2020 and the Debtor returned the Vehicle to

Movant on or about December 29, 2020.

         5.     The Third Amended Plan was confirmed on September 24, 2020 (Doc. No. 48).

         6.     Local Rule 4001-1(C)(2)(b) states:

         (b) Post-Confirmation (Ex Parte). After confirmation of a chapter 13 plan, a creditor
         may file a motion (serving all interested parties) seeking an order confirming that the
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       automatic stay is not in effect. Movant may file such motion on an ex parte basis, and the
       court may enter an order granting the motion without a hearing.


       7.      11 U.S.C. §362(j) states:

               (j) On request of a party in interest, the court shall issue an order under
               subsection (c) confirming that the automatic stay has been terminated.

       8.      Movant therefore seeks an order confirming the automatic stay is not in effect as to

Movant’s interest in the Vehicle, pursuant to 11 U.S.C. §362(j).

       WHEREFORE, Movant, respectfully requests the Court enter an order confirming the

termination of the automatic stay as to Movant and for such other and further relief as the Court

deems appropriate.

                                                  /s/Gavin N. Stewart
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                                                  Counsel for Movant

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 23rd day of February 2021.

                                                  /s/Gavin N. Stewart
                                                  Gavin N. Stewart, Esquire
VIA FIRST CLASS MAIL
Ron Vigdor
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Mountain Brook, AL 35223

VIA CM/ECF NOTICE
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